         2:15-cv-02136-CSB-EIL # 228                    Page 1 of 3                                                          E-FILED
                                                                                       Friday, 17 August, 2018 11:15:13 AM
                                                                                               Clerk, U.S. District Court, ILCD

                                IN THE UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF ILLINOIS, URBANA DIVISION

                                                         )
HYE-YOUNG PARK, a/k/a LISA PARK,                         )
                                                         )
         Plaintiff,                                      )
                                                         )
         v.                                              ) Case No.:15-cv-2136
                                                         )
MICHAL T. HUDSON, individually,                          )
HEIDI JOHNSON, individually,                             )
CHARLES SECOLSKY, individually,                          )
ROBERT STAKE, individually,                              )
and THE BOARD OF TRUSTEES OF THE                         )
UNIVERSITY OF ILLINOIS,                                  )
                                                         )
         Defendants.                                     )
                                                         )

  PLAINTIFF’S OBJECTIONS TO DEFENDANT CHARLES SECOLSKY’S OPENING STATEMENT
                                 PRESENTATION


         NOW COMES the Plaintiff, HYE-YOUNG PARK (“Park”), by her attorney, M. Dennis Mickunas, and

hereby files her Objections to the PowerPoint presentation submitted by the Defendant CHARLES SECOLSKY

(“Secolsky”) for his opening statement.

                                                         Argument


         Pursuant to the Court’s minute order of July 27, 2018, Secolsky submitted to Plaintiff’s counsel a copy of

the PowerPoint presentation that he intends to use in his opening statement, a printout of said presentation being

attached hereto as an Exhibit. Plaintiff objects to portions of the presentation, as detailed below.


    1.   Plaintiff objects to Slide #2. It presents improper personal opinion and goes well beyond the scope of any

         evidence that might be presented at trial.

    2.   Plaintiff objects to Slide #3. It presents improper personal opinion and goes well beyond the scope of any

         evidence that might be presented at trial. This slide indicates that Secolsky somehow intends to reference

         Plaintiff’s “strong Korean Christian beliefs” during the trial. Such a reference is completely irrelevant to any

         of the allegations against Secolsky. Plaintiff urges the court to caution Secolsky that Plaintiff’s religious

         beliefs may not be mentioned in his opening statement, nor are they admissible at trial. More importantly,

         this slide indicates that Secolsky somehow intends to reference Plaintiff’s “racial bias, particularly of African
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         Americans” during the trial. Such a reference is unfairly prejudicial to the Plaintiff and is completely

         irrelevant to any of the allegations against Secolsky. Plaintiff urges the court to caution Secolsky that such

         irrelevant and prejudicial material regarding Plaintiff’s supposed bias may not be mentioned in his opening

         statement, nor is it admissible at trial.

    3.   Plaintiff objects to Slide #5. This slide misstates the law. The jury is not free to “decide if a charge of Battery

         is appropriate.”

    4.   Plaintiff objects to Slide #7. Secolsky’s statement that “What must be decided here is whether Defendant

         Secolsky’s behavior was done with intent to inflict harm …” is a misstatement of the law.

    5.   Plaintiff objects to Slide #16, first bullet point. Showing that “Park was always free of racial discrimination”

         is irrelevant, and no evidence of that has been offered.

    6.   Plaintiff objects to Slide #18. It presents an improper conclusion of law and personal opinion.

    7.   Plaintiff objects to Slide #22. It presents improper conclusions.

                                                       CONCLUSION


         WHEREFORE, for the above and foregoing reasons, Plaintiff HYE-YOUNG PARK respectfully requests

that the Defendant CHARLES SECOLSKY be prohibited from presenting the above objected-to elements in his

opening statement.



Dated: August 17, 2018                          Respectfully submitted,

                                                         HYE-YOUNG PARK
                                                By:   s/ Marshall Dennis Mickunas______________
                                                         M. Dennis Mickunas
                                                         ARDC # 6293386
                                                         312 Yankee Ridge Ln
                                                         Urbana, IL 61802
                                                         Phone: 217-328-4000
                                                         dennis@mickunas-law.com




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                                          CERTIFICATE OF SERVICE



         I hereby certify that on August 17, 2018 I electronically filed the foregoing with the Clerk of the Court using
the CM/ECF system which will send notification of such filing to all parties involved in the case who are entitled to
notice and who are CM/ECF participants. I also hereby certify that I have mailed by United States Postal Service the
above- referenced document to the following non-CM/ECF participants:

         Charles Secolsky
         126 Rolling Meadows Road
         Middletown, NY 10940


                                                       By: s/ Marshall Dennis Mickunas______________
                                                       Plaintiff’s Attorney
                                                       M. Dennis Mickunas
                                                       ARDC # 6293386
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                                                       Urbana, IL 61802
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